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AO 89 (Rev. 08/09) Subpoena to Testify at a Hearing or Trial in a Criminal Case

UNITED STATES DISTRICT COURT

for the

District of Columbia [x]
United States of America )
vi )
Lauren Handy ) Case No. 22-cr-96
Defendant

SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE

To: Dr. Cesare Santangelo
2112 F. Street N.W., Suite 401,
Washington, D.C. 20037

YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown

below to testify in this criminal case. When you arrive, you must remain at the court until the judge or a court officer
allows you to leave.

| Place of Appearance: United States District Court Courtroom No.: 28A

for the District of Columbia
333 Constitution Ave. N.W,
Washington, D.C. 20001

Date and Time: — August 9, 2023, at 9:00am

You must also bring with you the following documents, electronically stored information, or objects (blank if not
applicable):

(SEAL)

Date: 07/05/2023
: CLERK OF COURT

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The name, address, e-mail, and telephone number of the attorney representing (name of party) ____ Lauren Handy
, who requests this subpoena, are:

Martin A. Cannon, Esq.
10506 Burt Circle, Suite 110
Omaha, Nebraska 68114
Email: mcannonlaw@gmail.com
Phone: (402) 690-1484
Dennis E. Boyle, Esq.

1050 Connecticut Ave, Suite 500
Washington, D.C. 20036
Email:dboyle@dennisboylelegal.com
Phone: (202) 430-1900

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